            CaseApplication
   AO 106A (08/18) 2:24-mj-03731-DUTY                  Document
                            for a Warrant by Telephone or                1 Filed
                                                          Other Reliable Electronic    06/21/24
                                                                                    Means         Page 1 of 34 Page ID #:1


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Central District
                                                     __________ Districtofof
                                                                           California
                                                                             __________

          In the Matter of the Search of a 2014 Navistar                )
       International Truck bearing California (CA) license              )
       plate “9G70806” with vehicle identification number               )         Case No. 2:24-MJ-3731
           3HSDJSNR8EN033349 registered to Marck
          GOMEZ at 19122 East Elberland Street, West
                       Covina, CA, 91792.

       APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
           I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
   penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
   property to be searched and give its location):

         See Attachment A-2
   located in the Central District of California, there is now concealed (identify the person or describe the property to be seized):
         See Attachment B
             The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      evidence of a crime;
                      contraband, fruits of crime, or other items illegally possessed;
                      property designed for use, intended for use, or used in committing a crime;
                      a person to be arrested or a person who is unlawfully restrained.
             The search is related to a violation of:
               Code Section                                                         Offense Description
          18 U.S.C. § 549                                                Removing Goods from Customs Custody
          18 U.S.C. § 371                                                Conspiracy
          18 U.S.C. § 545                                                Smuggling
          18 U.S.C. § 542                                                Entry of Goods By Means of False Statement
             The application is based on these facts:
                   See attached Affidavit
                      Continued on the attached sheet.
           Delayed notice of            days (give exact ending date if more than 30 days:                                   ) is requested
         under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

                                                                            /s/
                                                                                                    Applicant’s signature
                                                                            Martina Doino, HSI Special Agent
                                                                                                    Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                                    Judge’s signature

City and state: Los Angeles, CA                                             The Hon. Alka Sagar, Magistrate Judge
                                                                                                    Printed name and title

AUSA: Colin Scott (x3159)
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                            ATTACHMENT A-2

VEHICLE TO BE SEARCHED

     2014 Navistar International Truck bearing California (CA)

license plate “9G70806” with vehicle identification number

3HSDJSNR8EN033349 registered to Marck GOMEZ at 19122 East

Elberland Street, West Covina, CA, 91792.




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                              ATTACHMENT B
ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband

fruits, or instrumentalities of violations of 18 U.S.C. § 549

(Removing Goods from Customs Custody); 18 U.S.C. 371

(Conspiracy); 18 U.S.C. § 545 (Smuggling Goods into the United

States); and 18 U.S.C. § 542 (Entry of Goods by Means of False

Statements) (collectively, the “SUBJECT OFFENSES”), namely:

          a.    Any counterfeit or duplicate high security bolt

seals

          b.    All records related to FANNUM TRUCKS;

          c.    All communications between Marck Anthony Gomez

and Allison Gonzales Montano regarding the diversion of cargo

containers;

          d.    Any counterfeit items or prohibited food items

deemed not inspected by CBP;

          e.    Data, records, documents, programs, applications

or materials relating to the smuggling of goods , including

ledgers, pay/owe records, distribution or customer lists,

correspondence, receipts, records, and documents noting price,

quantities, and/or times of smuggled goods were bought, sold or

otherwise distributed and any materials, documents, or records

that are related to the sale, purchase, receipt, or possession

of any smuggled goods, including books, receipts, photographs,

bills of sale, shipping receipts, identification cards, bank

statements, and correspondence discussing, requesting or

confirming purchase, sale or shipment;


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          f.    Tools, paraphernalia, or materials used as a

means of packaging, selling, or distributing smuggled goods.

          g.    Any indicia of occupancy, residency, or ownership

of the SUBJECT PREMISES and things described in the warrant,

including forms of personal identification, records relating to

utility bills, telephone bills, loan payment receipts, rent

receipts, trust deeds, lease or rental agreements, addressed

envelopes, escrow documents, keys, letters, mail, canceled mail
envelopes, or clothing;

          h.    Items of personal property reflecting names,

addresses, telephone numbers, or communications of members or

associates involved in the smuggling activities, including

personal telephone books, address books, telephone bills,

photographs, videotapes, facsimiles, personal notes, cables,

telegrams, receipts, and documents and other items;

          i.    Any bills and/or subscriber documents related to

digital devices used to facilitate the SUBJECT OFFENSES;

          j.    United States currency, money orders, or similar

monetary instruments over $1,000 or bearer instruments worth

over $1,000 (including cashier's checks, traveler's checks,
certificates of· deposit, stock certificates, and bonds);

          k.    Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, rubber bands, plastic or shrink wrap,

and plastic sealing machines;

          l.    Records, documents, programs, applications, or

materials reflecting or relating to payment, receipt,


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concealment, transfer, or movement of money, including but not

limited to bank account records and other financial institution

records, wire transfer records, receipts, safe deposit box keys

and records, and notes;

          m.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to U.S Customs and Border Protection

concerning the importation of merchandise.
          n.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to any/all customs house broker(s).

          o.    Records, communications, information, documents,

programs, applications, or materials relating to communications

made or records submitted to U.S Customs and Border Protection

concerning the importation of merchandise.

          p.    For all digital devices, records, documents,

programs, applications or materials, or evidence of the absence

of same, sufficient to show address book information, including

all stored or saved telephone numbers;

          q.    For all digital devices, records, documents,
programs, applications or materials, or evidence of the absence

of same, sufficient to show call log information, including all

telephone numbers dialed from any digital devices used to

facilitate the SUBJECT OFFENSES and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;




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          r.      Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email or social media communications or other

text or written communications sent to or received from any

digital device;

          s.      Contents of any calendar or date book, including

any calendars or date books stored on any digital devices;

          t.      Audio recordings, photographs, video recordings
or still captured images on any digital device, phone memory

cards, or other storage related to the purchase, sale,

transportation, or distribution of controlled substances and

listed chemicals or the collection, transfer or laundering of

the proceeds of illegal activities;

          u.      GPS coordinates and other location information or

records identifying travel routes, destinations, origination

points, and other locations;

          v.      Any digital device used to facilitate the above

listed violations and forensic copies thereof.

     2.   Any digital device which is itself or which contains

evidence, contraband, fruits, or instrumentalities of the
SUBJECT OFFENSES, and forensic copies thereof.

     3.   With respect to any digital device containing evidence

falling within the scope of the foregoing categories of items to

be seized:

          a.      evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted;


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           b.   evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as

evidence of the presence or absence of security software

designed to detect malicious software;

           c.   evidence of the attachment of other devices;

           d.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the
device;

           e.   evidence of the times the device was used;

           f.   applications, programs, software, documentation,

manuals, passwords, keys, and other access devices that may be

necessary to access the device or data stored on the device, to

run software contained on the device, or to conduct a forensic

examination of the device;

           g.   records of or information about Internet Protocol

addresses used by the device.

     4.    As used herein, the terms “records,” “information,”

“documents,” “programs,” “applications,” and “materials” include

records, information, documents, programs, applications, and
materials created, modified, or stored in any form, including in

digital form on any digital device and any forensic copies

thereof.

     5.    As used herein, the term “digital device” includes any

electronic system or device capable of storing or processing

data in digital form, including central processing units;

desktop, laptop, notebook, and tablet computers; personal


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digital assistants; wireless communication devices, such as

telephone paging devices, beepers, mobile telephones, and smart

phones; digital cameras; gaming consoles (including Sony

PlayStations and Microsoft Xboxes); peripheral input/output

devices, such as keyboards, printers, scanners, plotters,

monitors, and drives intended for removable media; related

communications devices, such as modems, routers, cables, and

connections; storage media, such as hard disk drives, floppy
disks, memory cards, optical disks, and magnetic tapes used to

store digital data (excluding analog tapes such as VHS); and

 security devices.
SEARCH PROCEDURE FOR DIGITAL DEVICES

     6.   In searching digital devices or forensic copies

thereof, law enforcement personnel executing this search warrant

will employ the following procedure:

          a.    Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) will, in

their discretion, either search the digital device(s) on-site or

seize and transport the device(s) and/or forensic image(s)

thereof to an appropriate law enforcement laboratory or similar

facility to be searched at that location.        The search team shall

complete the search as soon as is practicable but not to exceed

120 days from the date of execution of the warrant.         The

government will not search the digital device(s) and/or forensic

image(s) thereof beyond this 120-day period without obtaining an

extension of time order from the Court.




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           b.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

                i.    The search team may subject all of the data

contained in each digital device capable of containing any of

the items to be seized to the search protocols to determine

whether the device and any data thereon falls within the scope

of items to be seized.     The search team may also search for and
attempt to recover deleted, “hidden,” or encrypted data to

determine, pursuant to the search protocols, whether the data

falls within the scope of items to be seized.

                ii.   The search team may use tools to exclude

normal operating system files and standard third-party software

that do not need to be searched.

                iii. The search team may use forensic examination

and searching tools, such as “EnCase,” “Griffeye,” and “FTK”

(Forensic Tool Kit), which tools may use hashing and other

sophisticated techniques.

           c.   The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items
to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           d.   If the search determines that a digital device

does not contain any data falling within the scope of items to

be seized, the government will, as soon as is practicable,

return the device and delete or destroy all forensic copies

thereof.


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           e.    If the search determines that a digital device

does contain data falling within the scope of items to be

seized, the government may make and retain copies of such data,

and may access such data at any time.

           f.    If the search determines that a digital device is

(1) itself an item to be seized and/or (2) contains data falling

within the scope of other items to be seized, the government may

retain the digital device and any forensic copies of the digital
device, but may not access data falling outside the scope of the

other items to be seized (after the time for searching the

device has expired) absent further court order.

           g.    The government may also retain a digital device

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been

able to fully search a device because the device or files

contained therein is/are encrypted.

           h.    After the completion of the search of the digital

devices, the government shall not access digital data falling
outside the scope of the items to be seized absent further order

of the Court.

      7.   The review of the electronic data obtained pursuant to

this warrant may be conducted by any government personnel

assisting in the investigation, who may include, in addition to

law enforcement officers and agents, attorneys for the

government, attorney support staff, and technical experts.


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Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

      The special procedures relating to digital devices found in

      this warrant govern only the search of digital devices

      pursuant to the authority conferred by this warrant and do

      not apply to any search of digital devices pursuant to any
      other court order.




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                                AFFIDAVIT

I, Martina Doino, being duly sworn, declare and state as

follows:
                            I. INTRODUCTION

     1.    I am a Special Agent with the Department of Homeland

Security (“DHS”). Immigration and Customs Enforcement (“ICE”),

Homeland Security Investigations (“HSI’), and have been so

employed since December 2019.

     2.    I attended the HSI Criminal Investigator Training

Program at the Federal Law Enforcement Training Center(“FLETC”),

in Glynco, Georgia. At FLETC, I received training in conducting

criminal investigations into customs violations such as narcotics

smuggling, interdiction, and distribution of controlled

substances.

     3.    I am currently assigned to the Los Angeles Border

Enforcement Security Taskforce (“LA BEST”) in Los Angeles,

California, and have been so assigned since August 2021.          LA BEST

is a multiagency task force aimed at identifying, targeting, and

eliminating vulnerabilities to the security of the United States

related to the Los Angeles/Long Beach seaport complex, as well as

the surrounding transportation and maritime corridors.          My

responsibilities include the investigation of violations of

federal criminal laws, including crimes involving money

laundering, narcotics trafficking, smuggling, fraud, and

immigration violations.

     4.    Prior to my tenure as a special agent, I was a police

officer in Key Biscayne, Florida from February 2015 to May 2019.
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From July 2018 to May 2019, I was a Task Force Officer (“TFO”) on

a High Intensity Drug Trafficking Area Task Force, where I

participated in investigations into money laundering and drug

trafficking crimes in South Florida.        Throughout my law

enforcement career, I have participated in numerous criminal

investigations involving narcotics importation, exportation or

distribution.   Through these investigations, I am familiar with

the methods and practices of drug users, drug traffickers, and
drug manufacturers.    I have also spoken at length with other HSI

SAs and local law enforcement officers regarding methods of drug

trafficking.

     5.    Through my investigations, my training and experience,

and discussions with other law enforcement personnel, I have

become familiar with the tactics and methods employed by

controlled substance traffickers to smuggle and safeguard

controlled substances, distribute controlled substances, and

collect and launder the proceeds from the sale of controlled

substances.    These methods include, but are not limited to, the

use of wireless communications technology, such as cellular

telephones and prepaid cellular accounts; counter surveillance;
false or fictitious identities; and coded or vague communications

in an attempt to avoid detection by law enforcement.




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                       II.   PURPOSE OF AFFIDAVIT


       6.   This affidavit is made in support of an application

for search warrants for the following:

            a.    2014 Freightliner Truck model Cascadia bearing

California (CA) license plate “FANNUM” with vehicle

identification number 3AKJGLD51ESFK4321 registered to Marck

Gomez at 19122 East Elberland Street, West Covina, CA, 91792

(the “SUBJECT VEHICLE 1”), as described more fully in Attachment
A-1;

            b.   2014 Navistar International Truck bearing

California (CA) license plate “9G70806” with vehicle

identification number 3HSDJSNR8EN033349 registered to Marck

GOMEZ at 19122 East Elberland Street, West Covina, CA, 91792

(the “SUBJECT VEHICLE 2”), as described more fully in Attachment

A-2;

            c.   A 2012 Navistar International Truck bearing

California (CA) license plate “FANNUM1” with vehicle

identification number 1HSHXSJR2CJ624475 registered to Marck

Gomez at 19122 East Elberland Street, West Covina, CA, 91792

(the “SUBJECT VEHICLE 3”), as described more fully in Attachment

A-3 (SUBJECT VEHICLES 1, 2, and 3 are referred to herein

collectively as the “SUBJECT VEHICLES”); and

            d.   A cellular device with phone number 626-494-4942,

subscribed to FANNUM TRUCKS LLC at 19122 East Elberland Street,

West Covina, CA, 91792 (the “SUBJECT DEVICE”) believed to be




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used by Marck Anthony GOMEZ and FANNUM TRUCKS, as described more

fully in Attachment A-4.

     7.      The requested search warrants seek authorization to

seize evidence, fruits, or instrumentalities of violations of           18

U.S.C. § 549 (Removing Goods from Customs Custody); 18 U.S.C. 371

(Conspiracy); 18 U.S.C. § 545 (Smuggling Goods into the United

States); and 18 U.S.C. § 542 (Entry of Goods by Means of False

Statements) (collectively, the “SUBJECT OFFENSES”), as described
more fully in Attachment B.      Attachments A-1, A-2, and A-3 and B

are incorporated herein by reference.

     8.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested warrant and does

not purport to set forth all of my knowledge of or investigation

into this matter.    Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.


 III. Background on Cargo Container Shipments at the Ports of Los
          Angeles and the Cargo Swapping Smuggling Scheme

     9.      United States Customs and Border Protection (“CBP”) is

responsible for, among other things, the examination of

merchandise entering the United States to ensure that it is

admissible under and in compliance with United States laws, and

the assessment and collection of taxes, fees, and duties on


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imported merchandise.     In order to properly assess fees, CBP

relies on a self-reporting regime in which different custom

brokers inform CBP about the contents of the cargo they are

trying to import into the United States.

      10.   Importers must supply CBP with 10 data elements when

bringing goods into the United States which includes: Seller,

Buyer, Importer of Record number, Consignee number,

Manufacturer/Supplier, Ship To party, Country of Origin, HTSUS
number, Container stuffing location, and Consolidator/Stuffer

name/address).

      11.   CBP has local and national targeting units that

targets shipments that may yield prohibited items.

      12.   Once cargo has been selected for CBP examination, CBP

will examine the contents of the cargo for discrepancies such as

verifying whether the manifest is accurate, whether the goods

have consistent country of origin markings, whether there are

contraband or smuggled goods, as well as inspecting for

environmental, and agricultural violations.

      13.   Once the shipment has been selected for further

inspection, the container is brought to a Centralized
Examination Site CES (CES) for further inspection.          Containers

are supposed to proceed directly to the CES after being selected

for inspection.

      14.   The Port of Long Beach/Los Angeles handles about 40

percent of secondary inspections for the entire country.           Due to

the uniquely high volume at the Port of Long Beach/Los Angeles,

the transportation of the containers selected for further


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inspection is not always controlled by CBP.         In fact, the

transportation of some containers selected for inspection is

controlled by the broker who filed the entry/importation

paperwork.    In Los Angeles, custom brokers are allowed to select

their own trucking company to pick up the container and take it

to a CES for further inspection.       This type of drayage, which is

the process by which a container is unloaded, is called broker

controlled drayage.     The broker controlled drayage process is
unique to the Los Angeles and Long Beach port.          No other

domestic ports have this policy in place.

      15.   Once cargo containers are ready for transportation at

their place of origin, a high security bolt seal is affixed on

the doors of the container, by the carrier, to maintain its

integrity and to prevent any unauthorized person from gaining

access to the cargo.     The purpose of the high security bolt seal

is to ensure that the cargo inside the container is not

compromised.    Each high security bolt seal has its own unique

identification number that is documented on several import

documents.    The high security bolt seal number is assigned by

the vessel carrier that will transport the sea container to its
destination.    Below is a picture of a high security bolt seal.




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     16.    On February 1, 2023, Customs and Border Protection

(“CBP”) discovered that cargo was missing from a container that

had just arrived from China, and that the missing cargo was

replaced, or swapped, with cargo that had clearly already

entered the United States, some of which had already undergone

CBP inspection.

     17.    This cargo swap was accomplished by using a fraudulent

high security bolt seal which cloned the correctly manifested

seal and its unique identification number and gave the

appearance that the container had not been opened when it fact

its contents had been removed and the fraudulent high security

bolt seal installed.
      18.   Homeland Security Investigations (“HSI”) opened an

investigation to determine how the cargo swap occurred, what

cargo was removed, and who was involved in orchestrating the

breaking of the seal and removal of cargo in customs custody.

     19.    Since then, CBP has uncovered 102 more incidents of

“cargo swapping.” That is incidents, where cargo containers had




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their high security bolts cut and the cargo inside removed

before being inspected by CBP.

     20.   HSI investigators have uncovered the cargo swapping

scheme is a direct result of the vulnerabilities within the

customer broker drayage process at the Port of Long Beach,

California.

     21.   As described above, CBP allows customs brokers to

arrange their own transportation between the port terminals and
the centralized examination stations (CES) where CBP conducts

inspection on imported goods that have been selected for

inspection.

     22.   HSI has found brokers, importers, and logistic

companies are not honoring CBP’s explicit instructions to

deliver containers directly to the CES locations.

     23.   The investigation has uncovered that the containers

are diverted during the drayage process to prevent customs

inspections and bypass custom fees.

     24.   Instead of being brought to the CES, HSI has found

that containers are brought to an offsite location, the seal is

cut, the cargo is swapped out for recycled used items.           A clone
seal matching the numbers of the original seal is then placed on

the container. The container is ultimately delivered to be

inspected by CBP.

     25.   HSI has concluded the smuggling scheme is a widespread

industry practice which undermines the Government’s authority to

inspect goods coming into the United States.         As a direct result

of this smuggling scheme the United States government is unable


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to properly secure its borders from prohibited items and impose

the appropriate custom duty fees.

     26.   Although the exact number of swapped cargo incidents

are unknown due to the sheer volume of this practice, a

conservative estimate of losses would be around $50,000 dollars

per diverted container in lost custom fees and fines.           Based on

the over 100 documented incidents, HSI believes that the scheme

has resulted in approximately $5,000,000 in lost revenue to the
United States.

     27.   In March 2024, federal agents were able to determine

the cloned seals were being imported via the international mail

from China by targets of the investigation.         Agents began a

sophisticated operation that included intercepting the air

parcels, documenting the seal number, and placing CBP holds that

would trigger controlled drayage on the impacted shipping

containers.    This operation led to the identification of more

than 40 air parcels containing approximately 88 cloned seals and

79 associated sea containers.

     28.   To date HSI has seized more than $ 50,000,000 worth of

prohibited items that would have been diverted and entered the
United States without inspection.       The numbers continue to grow

every day has more inspections are completed and items are

discovered.




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                     IV.    SUMMARY OF PROBABLE CAUSE

      29.   HSI special agents have found a common thread in 12

cargo swapping incidents: Marck Anthony Gomez and Allison

Gonzales Montano.

      30.   Law enforcement determined that Gomez owns and

operates FANNUM TRUCKS LLC which is the listed carrier in

several cargo swapping events.       Gonzales-Montano is believed to

be a driver for FANNUM TRUCKS LLC.

      31.   Between February 2023 and April 2024, FANNUM TRUCKS

LLC has been listed as the trucking company responsible for

transporting cargo containers, using the SUBJECT VEHICLES, in 12

cargo swap incidents, incidents in which cargo containers have

arrived at CBP inspection sites with tampered seals.

     32.    Phone tolls of the SUBJECT DEVICE show frequent

communication with the truck drivers, including Gonzales-Montano,

responsible for transporting the swapped cargo containers during

the period of time when the cargo containers have been illegally

taken from Custom’s custody.


                    V.     STATEMENT OF PROBABLE CAUSE

      A.    SUBJECT VEHICLE 3 Carries Out A Cargo Swap Event On
            September 18,2023
     33.    I know from reviewing law enforcement reports that on

August 26, 2023, container number TGBU5135370 (the “5310

Container”) arrived at the Port of Long Beach, California from

Nansha, China.    On August 29, 2023, CBP placed an examination

hold to inspect the contents of the 5310 Container.



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     34.   On September 19, 2023, the 5310 Container arrived at

the Price Central Examination Station (“CES”) located in Carson,

California at approximately 12:14 a.m.

     35.   According to the terminal out gate ticket 1 from the

Long Beach Terminal, the 5310 Container was picked up at the Long

Beach Terminal inside the Port of Long Beach on September 18,

2024, at approximately 7:19 p.m.

     36.   Based on my review of the terminal in gate ticket 2 from

the Price CES, I know that the container took four hours and

fifty-four minutes to reach the PRICE CES facility.          The total

distance between the locations is approximately 11 miles, with an

estimated 25-minute drive time at peak traffic.         The fact that it

took the 5310 Container over four hours to reach the Price CES

suggests to me that it was illegally diverted to a third location

prior to it being delivered to the Price CES.

     37.   On September 19, 2023, CBP inspected the contents of

the 5310 Container and found boxes containing FFG branded

Facemasks and medical gowns as well as CBP inspection tape.

Based on my knowledge of the investigation, I have seen this type

of cargo used in many cargo swapping events.        I believe that this

filler cargo is cargo specifically placed in containers for the

sole purpose of filling it back up after the original cargo has



     1 A terminal out gate ticket is a document provided to truck
drivers when exiting a terminal that includes the container
number in their possession and time stamps.
     2 A terminal in gate ticket is a document provided to truck
drivers when entering a terminal that includes the container
number in their possession and time stamps.


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been swapped out.    I believe that the filler cargo has little to

no value.    I also know that the presence of old CBP inspection

tape in a cargo container that was not yet supposed to have been

inspected indicates that the cargo inspection process had been

compromised.

     38.    I reviewed records provided by PRICE CES showing that

the truck driver for the 5370 Container was Allison Gonzalez-

Montano.    FANNUM TRUCKS LLC was listed as the trucking company
responsible for the transportation of the 5370 Container using

SUBJECT VEHICLE 3.

     39.    Based on records from PRICE CES, I know that GONZALEZ-

Montano was driving SUBJECT VEHICLE 3.       Based on my knowledge of

the investigation, Gonzalez-Montano has been linked to

approximately eight cargo swap events as the driver of a cargo

container that was later determined to be swapped.         Including the

above-described cargo swapping event which occurred on September

18-19, 2023.

     40.    I reviewed phone tolls of the SUBJECT DEVICE which

showed that Gonzalez-Montano was in contact with the SUBJECT

DEVICE during the September 18, 2023, cargo swapping event.
Based on my knowledge of the investigation, I believe the fact

that Gonzalez-Montano was in communication with the SUBJECT

DEVICE while he was illegally diverting the cargo container means

that there is like to be evidence of the SUBJECT OFFENSES on the

SUBJECT DEVICE.

      B.    SUBJECT VEHICLE 1 Is Used In Another Cargo Swapping
            Event on January 17, 2024


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     41.     I know from reviewing law enforcement records, that on

January 8, 2024, Container number RJCU2022275 (the “2275

Container”) arrived at the Port of Long Beach, California aboard

SM Shanghai vessel from Shanghai, China.        Prior to its arrival,

on January 4, 2024, CBP placed an examination hold to inspect the

contents of that container.

     42.     On January 17, 2024, the 2275 Container arrived at the

Price CES at approximately 10:55 p.m.
     43.     According to the terminal out gate ticket, I know that

the 2275 Container was picked up at the SSA Marine Terminal

inside the Port of Long Beach on January 17, 2024, at

approximately 4:08 p.m.

     44.     Based on my review of the terminal in gate ticket from

the Price CES, I know that the container took almost six hours

and forty-seven minutes to reach the Price CES.         The total

distance between the Price CES and the Fenix Marine Terminal is

approximately 11 miles, with an estimated 25-minute drive time at

peak traffic.    The fact that it took the 2275 Container over six

hours to reach the Price CES suggests to me that it was illegally

diverted to a third location prior to it being delivered to the

Price CES.

     45.     I know from reviewing law enforcement reports that on

January 19, 2024, CBP inspected the contents of the container and

found boxes of disposable face masks and blood collection tubes.

Additionally, the 2275 Container arrived in a non-active reefer

container.    A reefer container is a refrigerated container used


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to maintain cold temperatures when transporting items needing

refrigeration.    Based on my training and experience, I believe

that economically it would not make sense to transport items that

do not need refrigeration in a refrigerated container.          Based on

the foregoing, I believe that the original cargo, which probably

needed refrigeration, had likely been swapped and replaced before

CBP inspection.

     46.   According to the documents provided to law enforcement
by PRICE CES, the truck driver for the 2275 Container was Mark

Gomez.

     47.   On the container information sheet provided by PRICE

CES, which I reviewed, FANNUM TRUCKS LLC was the trucking company

listed for the delivery of the 2275 Container.         GOMEZ was listed

as the driver and SUBJECT VEHICLE 1 was listed as the vehicle

used during the delivery of the 2275 Container.

      C.   SUBJECT VEHICLE 2 Is Used During Another Cargo Swap
           Event on March 28, 2024

     48.   Based on law enforcement reports, on March 21, 2024,

federal agents inspected container number TCNU6659916 at the

PRICE CES facility (the “9916 Container”).         The inspection

uncovered multiple suspected counterfeit items in the 9916

Container such as BIC lighters, plastic bongs, and food items.

The 9916 Container, however, was manifested as containing

“Stainless steel cups.”

     49.   On March 26, 2024, the Honorable United States

Magistrate Judge Jaqueline Chooljian authorized a search warrant,



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in case number 2-24-MJ-1745, to place a tracker inside the 9916

Container and to search a location (1365 Darius Ct, City of

Industry) if the 9916 Container arrived at that location.

     50.     Based on law enforcement reports, I know that on March

28, 2024, at approximately 11:52 a.m. the 9916 Container was out

gated at the Fenix Marine Terminal by an unidentified individual

utilizing SUBJECT VEHICLE 2.      Federal agents observed that the

driver of SUBJECT VEHICLE 2 was a bald Hispanic male later
identified, via comparison with his California Driver’s license

picture, as Gomez.

     51.     Agents spoke with the Terminal employees, who stated

Exclusive Logistics Trucking made the reservation to pick up the

9916 Container.

     52.     At approximately 12:40 p.m., the 9916 Container left

the terminal affixed to SUBJECT VEHICLE 2 which was driven by

GOMEZ.     Instead of proceeding to the PRICE CES, as required by

CBP, federal agents surveilled the 9916 Container drive to the

City of Industry, California.

     53.     At approximately 2:16 p.m., the 9916 Container arrived

at a commercial warehouse located at 15736 East Valley Blvd. and
backed up to the loading dock number six.

     54.     Law enforcement observed GOMEZ step out of the truck

and walk toward the parking lot.       GOMEZ was later seen speaking

to an unidentified Asian male, later identified as Hexi WANG, who

the investigation reveals was involved in several other cargo

swapping events.




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     55.     At approximately 2:45 p.m., the 9916 Container arrived

at 1365 Darius Court, City of Industry, California.          Federal

agents observed GOMEZ park the 9916 Container on the side of the

street closest to the loading docks.        GOMEZ remained in the

driver seat of SUBJECT VEHICLE 2.

     56.     At approximately 4:10 p.m., the 9916 Container arrived

at the Price CES facility.      Agents observed GOMEZ pull off to the

side of the road and walk to the back of the 9916 Container.
GOMEZ was observed touching and taking photos of the seal with a

cellphone, which I believe is the SUBJECT DEVICE.

     57.     At approximately 4:30 p.m., GOMEZ approached the guard

gate at the PRICE CES warehouse and was observed speaking with a

PRICE employee.    GOMEZ appeared nervous and kept pacing back and

forth.     GOMEZ brought the PRICE employee to the rear of the 9916

Container and pointed to the seal.       A short while later, the 9916

Container was accepted by PRICE employees.        CBP Officer Robert

Adams approached GOMEZ at the Price CES lot near the guard gate

and had a brief conversation with him.

     58.     According to CBP Officer Adams, during that

conversation, GOMEZ told CBP Officer Adams that he wanted them to
know about an issue with the seal.       GOMEZ stated that the seal

had broken off when he backed up the chassis in Carson while he

was “swapping out” with another driver.

     59.      GOMEZ told CBP Officer Adams that he did not pick up

the 9916 Container at the Port of Long Beach and that another one

of his employees had picked it up.       GOMEZ told CBP Officer Adams

that he had placed one of his personal GLOBAL INDUSTRIAL seals on


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the container in order to secure it.        GOMEZ then gave CBP Officer

Adams his phone number of 626-494-4942, which I believe to be the

SUBJECT DEVICE.

     60.      Based on the reports of surveillance of the 9916

Container, which I reviewed, I know that GOMEZ picked up the 9916

Container from the Port and never met with another driver to

swap.

     61.      I reviewed subscriber records for the SUBJECT DEVICE
obtained from T-Mobile.     The records show the SUBJECT DEVICE was

registered to FANNUM TRUCKS LLC, at 19122 East Elberland Street,

West Covina, California 91792.

                 VII.TRAINING AND EXPIRIENCE ON SMUGGLING

     62.      Based on my training and experience, I am familiar

with the methods employed in smuggling operations and the

patterns employed by smuggling organizations.         I have also spoken

with other experienced agents and other law enforcement officers

about their experiences and the results of their investigations

and interviews.     I am knowledgeable in the methods and modes of

smuggling operations and the language patterns of these groups. I

have become familiar with the methods of operation typically used
by smugglers.     Based on my training, experience, my conversations

with other law enforcement officers, and my knowledge of this

investigation and others, I am aware of the following.

        63.   Smugglers frequently conduct their illegal activities

 inside of secure locations, which are private, but to which they

 have ready access; therefore, I believe that SUBJECT PREMISES 1,




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2, 3 are likely to be areas where persons who are engaged in

smuggling are located and conduct their operations.

      64.   Smugglers will frequently keep the smuggled goods

supplier and customer records, and other items relating to their

smuggling activities at their residences (including garages and

outbuildings on their properties), businesses, and other secure

areas, such as storage lockers.

      65.   Smugglers also conceal items related to their crimes
in vehicles, including vehicles outside of their residences, or

Businesses so that they have ready access to them and so that

they can hide them from law enforcement, including law

enforcement officers executing search warrants at their

residences or businesses.

      66.   Smugglers will often have secret show rooms inside a

business or residence to showcase the smuggled goods available.

Including in locked safes, drawers, and filing cabinets.

      67.   Smugglers will often receive goods on a regular basis.

Such smugglers will thus have an “inventory” which will

fluctuate in size depending on the demand for the product.

      68.   Smugglers often use one or more telephones, pagers, or
other digital devices to negotiate times, places, schemes, and

manners for importing, possessing, concealing, manufacturing,

and distributing smuggled goods, and for arranging the proceeds

from the sale of the smuggled goods.         Additionally, I know that

professional smugglers depend upon maintaining both long-

distance and local contacts with both suppliers and those down

the organizational chain, to the local distributors.


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      69.   Data contained on digital devices used by smugglers

often include, among other things, records of telephone calls,

text messages, and e-mail and social media communications

between the Smugglers and the co-conspirators; Global

Positioning System (“GPS”) information and other location

information that can help identify stash locations, meeting

places, and smuggling routes; and identifying information about

the smugglers and co-conspirators, such as contact lists,
calendar appointments, and photographs or videos.

      70.   Individuals involved in smuggling often have in their

possession – that is, on their persons, at their residence,

and/or at their stash houses – firearms, including handguns,

pistols, revolvers, rifles, shotguns, machine guns and/or other

weapons, as well as ammunition and ammunition components, that

are used to protect and secure the smuggling property.

      71.   Individuals involved in smuggling typically pay or

receive large sums of money for goods.         Therefore, smugglers

typically have significant amounts of cash on hand, as proceeds

of sales, to purchase their own supplies, or as profits from

their smuggling activities (such as profits from sales or
profits from the transportation of smuggled goods).

      72.   Smugglers also often maintain in their residences,

businesses or vehicles documents relating to their communication

devices, in the form of receipts, bills, telephone and address

books, and other books and papers which reflect, among other

things, the names, addresses, and/or telephone numbers of their




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customers, co-conspirators, and associates in the smuggling

organization.

      73.    Individuals involved in smuggling goods can provide

goods on credit to trusted distributors in their organization

and can obtain smuggled goods from their suppliers on credit.

Therefore, I am aware that individuals involved in smuggling

goods maintain books, records, customer lists, receipts, notes,

ledgers, and other papers relating to the transportation,
receipt, ordering, sales, and distribution of goods, proceeds,

and equipment, and that such documents may be in code to attempt

to thwart law enforcement.

            IV.   TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      74.    As used herein, the term “digital device” includes the

SUBJECT DEVICE.

      75.    Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is
often retrievable from digital devices:

             a.    Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary


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directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

           b.    Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,
programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

           c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.    For example, showing the absence of certain
software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

           d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously


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develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.

     76.     Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data in

a short period of time for a number of reasons, including the

following:

             a.   Digital data are particularly vulnerable to
inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

             b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

     77.     Other than what has been described herein, to my
knowledge, the United States has not attempted to obtain this

data by other means.




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                              V. CONCLUSION

       78.   For all the reasons described above, there is probable

cause to believe that the items listed in Attachment B, which

constitute evidence, fruits, and instrumentalities of violations

of Subject offenses will be found in the SUBJECT DEVICE and

SUBJECT VEHICLES, as described in Attachments A-1, A-2, A-3, and

A-4.


Subscribed to and sworn before me
this 21st day of June, 2024.



HONORABLE ALKA SAGAR
UNITED STATES MAGISTRATE JUDGE




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